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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF KENTUCKY
                    ASHLAND, LONDON, AND LEXINGTON DIVISIONS

 IN RE:                                                       CHAPTER 7

 LICKING RIVER MINING, LLC, et al.                            CASE NO. 14-10201

          DEBTORS                                     JOINTLY ADMINISTERED


         SUMMARY SHEET ACCOMPANYING FINAL FEE APPLICATION
   OF GASSRATNER ADVISORY & CAPITAL GROUP, LLC FOR ALLOWANCE OF
    COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
        EXPENSES INCURRED DURING THE PERIOD FROM JUNE 12, 2014
                 THROUGH AND INCLUDING APRIL 24, 2015

 Name of Applicant:                          GlassRatner Advisory & Capital Group, LLC

 Name of Client:                             Licking River Resources, Inc., S. M. & J., Inc.,
                                             J.A.D. Coal Company, Inc., Fox Knob Coal
                                             Co., Inc., U.S. Coal Corporation, Harlan
                                             County Mining, LLC, Oak Hill Coal, Inc.,
                                             Sandlick Coal Company, LLC, and U.S. Coal
                                             Marketing, LLC

 Petition Date:                              Licking River Mining, LLC: May 22, 2014

                                             Licking River Resources, Inc. and Fox Knob
                                             Coal Co., Inc.: May 23, 2014

                                             S. M. & J., Inc.: June 3, 2014

                                             J. A. D. Coal Co., Inc.: June 4, 2014

                                             U.S. Coal Corporation: June 10, 2014

                                             Harlan County Mining, LLC, Oak Hill Coal,
                                             Inc., Sandlick Coal Company, LLC, and U.S.
                                             Coal Marketing, LLC: November 4, 2014

 Retention Date:                             Licking River Mining, LLC, Licking River
                                             Resources, Inc., Fox Knob Coal Co., Inc., S.
                                             M. & J., Inc., and J. A. D. Coal Co., Inc.: June
                                             12, 2014
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                                                   U.S. Coal Corporation: June 27, 2014

                                                   Harlan County Mining, LLC, Oak Hill Coal,
                                                   Inc., Sandlick Coal Company, LLC, and U.S.
                                                   Coal Marketing, LLC: November 19, 2014

 Date of Order Approving Retention:                July 12, 2014 per Final Order Authorizing the
                                                   Employment of GlassRatner Advisory &
                                                   Capital Group as Financial Advisor for All
                                                   Debtors and Debtors in Possession [Doc 277]
 Period for Which Compensation and                 June 12, 2014 through and including April 24,
 Reimbursement is Sought:                          2015

 Total Amount of Compensation Sought as            $1,484,553.50
 Actual, Reasonable and Necessary Excluding
 Gap Claims:

 Total Amount of Expense Reimbursement             $74,662.90
 Sought as Actual, Reasonable and Necessary
 Excluding Gap Claims:

 Total Amount of Compensation Previously           $695,332.76
 Awarded as Actual, Reasonable and Necessary
 Excluding Gap Claims:

 Total Amount of Expense Reimbursement        $49,684.38
 Previously Awarded as Actual, Reasonable and
 Necessary:

 Total Amount of Compensation and Expense          $745,017.14
 Reimbursement Previously Paid by the
 Debtors:

 Total Gap Claims Pursuant to 11 U.S.C. §          $30,077.16
 502(f):




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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                     ASHLAND, LONDON, AND LEXINGTON DIVISIONS

 IN RE:                                                           CHAPTER 11

 LICKING RIVER MINING, LLC, et al.                                CASE NO. 14-10201

          DEBTORS IN POSSESSION                                   JOINTLY ADMINISTERED


             FINAL APPLICATION FOR APPROVAL OF COMPENSATION
           FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
          INCURRED BY GLASSRATNER ADVISORY & CAPITAL GROUP, LLC
            AS FINANCIAL ADVISOR FOR THE DEBTORS FOR THE PERIOD
                      JUNE 12, 2014 THROUGH APRIL 24, 2015




          GlassRatner Advisory & Capital Group, LLC (the “Applicant” or “GlassRatner”), by and

 through undersigned counsel, hereby files its Final Application for Approval of Compensation

 for Services Rendered and Reimbursement of Expenses Incurred as Financial Advisors for the

 Debtors for the period June 12, 2014 through April 24, 2015 (the “Fee Application”). The Fee

 Application seeks final approval and allowance of fees in the amount of $1,484,553.50 (the

 “Fees”) and the reimbursement of expenses in the amount of $74,662.90 (the “Expenses”) for a

 total request of $1,559,216.40 (the “Total Request”) on account of services performed and

 expenses incurred as financial advisor to the Debtors during the period of June 12, 2014 through

 April 24, 2015 (the “Fee Period”). In support of this Fee Application, GlassRatner respectfully

 represents as follows:




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                                 PRELIMINARY STATEMENT

        These cases were commenced approximately one year ago under exceedingly difficult

 and tumultuous circumstances through four separate involuntary bankruptcy petitions.            The

 Debtors’ coal mining operations were run through two separate divisions (comprised of ten

 separate legal entities), each of which had its own complex capital structure, was separately

 managed, and reflected different mining dynamics, both from a production and sales perspective.

 GlassRatner shepherded the Debtors through these cases by providing critical guidance and

 financial advisory services at a time when the Debtors were in turmoil. Among other things,

 GlassRatner assisted the Debtors with transitioning into chapter 11, obtaining access to cash

 collateral and other necessary relief, communicating and ensuring financial transparency with

 key parties in interest, developing and pursuing an initial strategy that contemplated a plan

 process for both divisions, and quickly adapting to changing circumstances and ultimately

 pivoting to a sale process for each division.

        Initially, the key parties in these cases were supportive of the plan process strategy as the

 best way to maximize value. No other restructuring alternative was proposed and all parties

 allowed the plan strategy to proceed without objection. GlassRatner worked tirelessly to compile

 detailed projections to facilitate discussions with potential third party funding sources for a

 capital raise that would be necessary to fund the strategy. However, due to a sharp decline in

 market pricing and demand for coal and other external factors not within the control of the

 Debtors or GlassRatner, the plan strategy was rendered no longer feasible. As such, the Debtors,

 with GlassRatner’s assistance, pivoted to conducting a sale process resulting in the successful

 sale of each division. Although the sales maximized value under the changed circumstances, the




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 Licking River sale did not generate sufficient cash proceeds to satisfy all administrative claims

 and these cases were converted to chapter 7.

         Ultimate success with efforts to reorganize can never be guaranteed and is appropriately

 not a requirement for the allowance of reasonable professional compensation under section 330

 of the Bankruptcy Code. Notwithstanding the ultimate conversion of these cases, the earlier

 effort to reorganize through a plan process was reasonable under the circumstances and all of

 GlassRatner’s services in connection with the plan strategy, the ultimate sale of both divisions,

 and all other aspects of these cases benefitted the Debtors’ estates or were reasonably likely to

 benefit the estates at the time they were performed. GlassRatner’s fees and expenses were the

 subject of criticism by the Official Committee of Unsecured Creditors and the U.S. Trustee

 earlier in these cases [Doc. 787 and 788]. For the reasons explained in GlassRatner’s filed

 response to those objections [Doc. 1100] and below, this criticism and related objections are

 unfounded and unsupported by the record of these cases. In sum, they do not present any basis

 for disallowance of GlassRatner’s requested fees and expenses. For these reasons and those set

 forth below, the Fees and Expenses are fully compensable and should be approved and allowed

 as reasonable compensation for GlassRatner’s services on a final basis.

 I.      NARRATIVE SUMMARY

      A. Status of Proceeding – Jurisdiction and Venue

         1.      On May 22, 2014, an involuntary petition seeking relief under Chapter 11 of the

 Bankruptcy Code was filed against Debtor Licking River Mining, LLC (“LR Mining”). On May

 23, 2014, involuntary petitions seeking relief under Chapter 11 of the Bankruptcy Code were

 filed against Debtor Licking River Resources, Inc. (“LRR”) and Fox Knob Coal Co., Inc. (“Fox

 Knob”).      On June 3, 2014, an involuntary petition seeking relief under Chapter 11 of the




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 Bankruptcy Code was filed against Debtor S. M. & J., Inc. (“SMJ”)          On June 4, 2014, an

 involuntary petition seeking relief under Chapter 11 of the Bankruptcy Code was filed against J.

 A. D. Coal Co., Inc. (“JAD”). On June 10, 2014, an involuntary petition seeking relief under

 Chapter 11 of the Bankruptcy Code was filed against U.S. Coal Corporation (“U.S. Coal”). The

 foregoing involuntary petitions are collectively referred to as the “Involuntary Petitions.”

 Collectively, LR Mining, LRR, Fox Knob, SM&J, JAD, and U.S. Coal are hereinafter referred to

 as the “Debtors.”

        2.      In response to the Involuntary Petitions, on June 9, 2014, LR Mining, LRR, Fox

 Knob, SM&J, and JAD (collectively, the “Subsidiary Debtors”) acknowledged that they did not

 have a defense to allegations contained by filing their Consolidated Answer and Consent to Entry

 of Order for Relief and Reservation of Rights [Doc 8]. On June 12, 2014, the Court entered an

 order for relief in each of the LR Mining, LRR, Fox Knob, SM&J, and JAD cases. In response

 to its Involuntary Petition, on June 23, 2014, U.S. Coal acknowledged that it did not have a

 defense to allegations contained by filing its Answer and Consent to Entry of Order for Relief

 and Reservation of Rights. On June 27, 2014, the Court entered an order for relief in U.S. Coal’s

 bankruptcy case.

        3.      On June 13, 2014 and June 27, 2014, the Court entered Orders [LR Mining Doc

 91, U.S. Coal Doc 48] authorizing the joint administration of these Chapter 11 cases pursuant to

 Fed. R. Bankr. P. 1015(b) for procedural purposes.

        4.      On November 4, 2014, voluntary Chapter 11 petitions were filed for each of

 Harlan County Mining, LLC, Oak Hill Coal, Inc., Sandlick Coal Company, LLC, and U.S. Coal

 Marketing, LLC, in accordance with the Court’s order that authorized, compelled, and directed

 these Debtors to file Chapter 11 petitions [Doc 660].




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        5.      On April 24, 2015, the Court converted these cases from Chapter 11 to Chapter 7

 [Doc 1303] and a Chapter 7 Trustee was subsequently appointed.

        6.      This Court has jurisdiction over the Debtors’ Chapter 7 cases under 28 U.S.C. §§

 157 and 1334. This matter constitutes a core proceeding under 28 U.S.C. § 157(b)(2)(A) and

 (O).

        7.      The Licking River Lenders have asserted a lien on all of the Debtors’ assets,

 including all cash collateral of the Debtors. See Final Cash Collateral Order at ¶¶ 7(a)-(d), (k).

 The Final Cash Collateral, however, provides for a Carve-Out from the Licking River Lenders’

 alleged cash collateral for purposes of paying the allowed fees and expenses of professionals

 engaged by the Debtors and the Committee. The Carve-Out is defined in the Final Cash

 Collateral Order as follows:

        The Carve-Out. For purposes hereof, the “Carve-Out” shall mean, with respect to
        the Debtors, collectively, the sum of (i) all fees required to be paid to the clerk of
        this Court and to the U.S. Trustee under section 1930(a) of title 28 of the United
        States Code plus interest at the statutory rate (without regard to the notice set forth
        in (v) below); (ii) fees and expenses of up to $25,000 incurred by a trustee under
        section 726(b) of the Bankruptcy Code (without regard to the notice set forth in
        (v) below); (iii) to the extent allowed at any time, whether by interim order,
        procedural order or otherwise, all fees, costs, and expenses (the “Professional
        Fees”) incurred by persons or firms retained by the Debtors or the Creditors’
        Committee pursuant to section 327, 328, or 363 of the Bankruptcy Code
        (collectively, the “Professional Persons”) at any time before or on the first
        business day following delivery by the Pre-Petition Lenders of a Carve-Out
        Trigger Notice (as defined herein), whether allowed by this Court prior to or after
        delivery of a Carve-Out Trigger Notice (the “Pre-Trigger Date Fees”); and (iv)
        after the first business day following delivery by the Licking River Lenders of the
        Carve-Out Trigger Notice (the “Trigger Date”), to the extent allowed at any time,
        whether by interim order, procedural order or otherwise, the payment of (x) all
        Professional Fees of Professional Persons retained by the Debtors; and (y) all
        Professional Fees of Professional Persons incurred by the Creditors’ Committee,
        in an aggregate amount for clauses (x) and (y) not to exceed $500,000 incurred on
        and after the Trigger Date (the amount set forth in clauses (x) and (y) being the
        “Post-Carve Out Trigger Notice Cap”); provided that nothing herein shall be
        construed to impair the ability of any party to object to the reasonableness of the
        fees, expenses, reimbursement or compensation described in clauses (iii) and (iv)



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        referred to above; provided, further, that if the Debtors’ right to use Cash
        Collateral is not terminated within fifteen (15) days of the Trigger Date, the Post-
        Carve-Out Trigger Notice Cap shall not apply. Notwithstanding the foregoing,
        (x) the Carve-Out shall not include, apply to or be available for any fees or
        expenses incurred by any party in connection with (a) the investigation (other than
        as provided below), initiation or prosecution of any claims, causes of action,
        adversary proceedings or other litigation against any of the Licking River
        Lenders, including challenging the amount, validity, perfection, priority or
        enforceability of or asserting any defense, counterclaim or offset to, the
        obligations and the liens and security interests granted under the Loan Documents
        in favor of the Licking River Lenders (whether in such capacity of otherwise),
        including, without limitation, for lender liability or pursuant to section 105, 510,
        544, 547, 548, 549, 550 or 552 of the Bankruptcy Code, applicable
        nonbankruptcy law or otherwise; (b) attempts to modify any of the rights granted
        to the Licking River Lenders hereunder; (c) attempts to prevent, hinder or
        otherwise delay any of the Licking River Lenders’ assertion, enforcement or
        realization upon any Prepetition or Postpetition Collateral in accordance with the
        Loan Documents and this Final Order; or (d) paying any amount on account of
        any claims arising before the Relief Dates unless such payments are approved by
        an order of this Court and (y) so long as the Carve-Out Trigger Notice shall not
        have been delivered, the Carve-Out shall not be reduced by the payment of
        Professional Fees allowed at any time by this Court; provided, however, that an
        amount equal to the Investigation Budget (as defined herein) may be utilized by
        the Creditors’ Committee solely to investigate any such claims, liens, causes of
        such action, adversary proceedings or other litigation against the Licking River
        Lenders. For purposes of the foregoing, “Carve-Out Trigger Notice” shall mean a
        written notice delivered by a Licking River Lender to a Debtor, such Debtor’s
        counsel, the U.S. Trustee, the other Licking River Lenders, the JAD Lenders,
        counsel to CAMOFI and lead counsel for the Creditors’ Committee, upon the
        occurrence and during the continuance of a Termination Event (as defined
        herein), stating that the Post-Carve Out Trigger Notice Cap has been invoked.

 Final Cash Collateral Order at ¶ 12(e).

        8.      For periods before the “Trigger Date,” the Carve-Out includes “all fees, costs, and

 expenses” of professionals for the Debtors and the Committee, so long as such fees are

 ultimately allowed by this Court and regardless of “whether allowed by this Court prior to or

 after delivery of a Carve-Out Trigger Notice.”

        9.      For periods after the Trigger Date, there is an aggregate $500,000 cap on the

 Carve-Out amount for professionals for the Debtors and the Committee.




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        10.     Pursuant to an agreed order with the ECM Parties entered by this Court on March

 12, 2015 (the “March Agreed Order”) [Dkt. No. 1033], the Trigger Date was deemed to occur on

 March 1, 2015. In connection with the March Agreed Order, the professionals for the Debtors

 and the Committee agreed to allocate the $500,000 cap among each professional. Pursuant to the

 March Agreed Order GlassRatner’s allocated portion of the cap was $108,553. An additional

 $15,000 was allocated to GlassRatner for fees incurred after April 1, 2015 – making

 GlassRatner’s total post-Trigger Date Carve-Out $123,553.

        11.     Consequently, under the Final Cash Collateral Order, (a) any allowed fees and

 expenses of GlassRatner accrued prior to March 1, 2015 are part of the Carve-Out and should be

 paid from alleged cash collateral, and (b) GlassRatner post March 1, 2015 fees are part of the

 Carve-Out and should be paid from alleged cash collateral so long as they do not exceed

 $123,553. GlassRatner’s fees and expenses for periods after March 1, 2015 equal $181,876.71.

 Applicant’s post-Trigger Date fees and expenses exceed the amounts budgeted during these two

 months by approximately $58,000.       Applicant spent a significant amount of time handling

 matters in the closing months of the cases including the implementation of complex closing

 issues related to the Licking River and JAD sale transactions.

        12.     It is Applicant’s position that all allowed fees and expenses that accrued from the

 Relief Dates through and including February 28, 2015 are covered by the Carve-Out contained in

 the Final Order, and should be paid in full from the Licking River Lenders’ cash collateral.

 Allowed fees and expenses that accrued from the Trigger Date of March 1, 2015 through the

 Conversion Date of April 24, 2015 are also covered by the Carve-Out and related provisions

 subject to numerous factors including but not limited to the services and benefits provided to the

 Estates during the post-Trigger Date time periods, the benefits provided to the Licking River



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 Lenders during the post-Trigger Date time periods in preserving and disposing of assets, and any

 other issues which may arise. Applicant seeks payment in full of all outstanding professional

 fees and administrative claims that it may be allowed in the cases from the Carve-Out to the

 maximum extent warranted and allowed by law and equity. To the extent that any such allowed

 professional fees and expenses exceed the Carve-Out, such amount will share with any other

 allowed chapter 11 administrative claimants in each Estate.

        13.     Upon information and belief, Applicant states that the following funds have been

 claimed to constitute the cash collateral of the Licking River Lenders, and are therefore subject

 to the Carve-Out: (a) the $2,000,000 that Debtors received from South Carolina Electric & Gas

 Company (“SCANA”) pursuant to Order Approving Settlement Agreement Pursuant to

 Bankruptcy Rule 9019 [Doc 1096], which sum is currently held by the Applicant in its escrow

 account pending further orders of this Court; (b) all cash in the Debtors’ bank accounts as of the

 Conversion Date; (c) all cash deposits held by third parties and all accounts receivables; and (d)

 all proceeds of vehicles and equipment that the Licking River Lenders/ SPV purchased via credit

 bid during the Chapter 11 portion of these cases (see Docs 1195, 1198, 1232).

 B.     Background of Applicant

        14.     The Debtors selected the Applicant as their financial advisor because of its

 experience and knowledge in the fields of debtors’ and creditors’ rights and business

 reorganizations under Chapter 11 of the Bankruptcy Code. The Subsidiary Debtors filed their

 Motion to employ the Applicant as financial advisor on June 9, 2014 [Doc 30] (the “Original

 Employment Application”), and the Court entered an Interim Order [Doc 123] approving that

 Application on an interim basis on June 16, 2014. On June 23, 2014, the Debtors filed their

 Motion [U.S. Coal Doc 23] (the “USC Employment Application”) requesting authorization for




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 U.S. Coal to employ the Applicant on the same terms as stated in the Original GR Employment

 Application, and the Court entered an Interim Order [U.S. Coal Doc 69] approving that

 Application on an interim basis on June 27, 2014.

        15.    On July 11, 2014, the Court entered Final Orders Authorizing the Employment of

 GlassRatner Advisory & Capital Group as Financial Advisor for the Debtors [Doc 277; U.S.

 Coal Doc 80] (together, the “Original Debtors’ Final Employment Orders”), which approved

 both the Original and the USC Employment Applications and authorized all of the Original

 Debtors to retain and employ the Applicant as their financial advisor effective from the Relief

 Dates through the pendency of their bankruptcy cases.

        16.    On November 4, 2014, the Additional Debtors filed their Motion [Doc 609] (the

 “Additional Debtors’ Employment Application”) requesting authorization for the Additional

 Debtors to employ the Applicant on the same terms as stated in the Original GR Employment

 Application. On November 19, 2014, the Court entered an Order [Doc 671] (the “Additional

 Debtors’ Final Employment Order,” and together with the Original Debtors’ Final Employment

 Orders, the “Final GR Employment Orders”) approving the Additional Debtors’ GR

 Employment Application and authorizing the Additional Debtors to retain and employ the

 Applicant from the Petition Date through the pendency of their bankruptcy cases

        17.    The Applicant has been employed by and acted as financial advisor for the

 Original Debtors since the Relief Dates for the Additional Debtors since the Petition Date.

 Copies of the Final GR Employment Orders entered in the lead case are attached hereto as

 Exhibit A.




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         C.      Terms of Employment

         18.     All charges for services rendered and for reimbursement of costs incurred are

 within the range of rates and in the amounts the Applicant customarily bills to and collects from

 other clients for similar services. The Applicant believes that its services were necessary and

 reasonably likely to benefit the Estates at the time they were performed and that the amount

 requested as compensation for services is reasonable, and requests that the amount be approved

 on a final basis.

         19.     The Applicant’s professionals and paraprofessionals record the services they

 perform on daily time sheets and/or electronic time slips in six-minute increments. The time

 entries are made substantially contemporaneously with the performance of the services described

 therein and are kept in the regular course of the Applicant’s business. The billing statements

 contain a reproduction of the time entries arranged chronologically by the U.S. Trustee’s project

 categories and set forth the costs incurred and expenses advanced. The billing statements are

 maintained in the ordinary course of the Applicant’s business. True and accurate copies of the

 billing statements for the Fee Period are attached hereto as Exhibit B. The Applicant represents

 that the Debtors have reviewed the billing statements and have approved the requested amount.

         20.     The Applicant made a number of voluntary rate and other reductions and

 exercised significant billing judgment in these cases. Although not disclosed in the invoices, the

 Applicant did not bill the Debtors for certain services in its own discretion after reviewing the

 invoices in their totality and services performed. In addition, GlassRatner voluntarily agreed (i)

 to reduce the hourly rate for Mr. Evan Blum (a Principal with GlassRatner and the senior

 professional advising the Debtors) from $575 to $525 starting on September 1, 2014, (ii) not to

 charge for non-working travel, and (iii) to reduce their total fee request by $7,500 as set forth in




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 the Agreed Order Regarding Pending and Future Objections of the Committee and the U.S.

 Trustee to Fee Applications and Monthly Fee Statements of GlassRatner Advisory & Capital

 Group, LLC (the “Agreed Interim Fee Order”) [Doc. 1029].

        21.     The Applicant received a pre-Relief Date retainer of $100,000.00 for services

 rendered and expenses incurred by the Applicant as financial advisor prior to filing of the

 Subsidiary Debtors’ Consolidated Answer and Consent to Entry of Order for Relief and

 Reservation of Rights [Doc 8] (the “Subsidiary Answer”) on June 9, 2014. The Applicant

 applied the sum of $61,267.67 to the fees and expenses incurred prior to the filing of the

 Subsidiary Answer.     The Applicant holds the remaining $38,732.33 (the “Retainer”) in its

 escrow account, as authorized by the Final GR Employment Orders.

        22.     The Applicant submitted one prior application for allowance of interim

 compensation on November 14, 2014 [Doc 624] (the “First Interim Fee Application”) in the

 amount of $700,630.89. The U.S. Trustee filed an Objection [Doc 787] to the First Interim Fee

 Application on January 2, 2015 and the Committee filed an Objection [Doc 788] to the First

 Interim Fee Application on January 4, 2015. GlassRatner responded to these objections on

 January 28, 2015 [Doc 852] (the “Interim Response”), which is incorporated herein by reference.

 In support of the Interim Response, GlassRatner also filed supporting affidavits from Michael P.

 Windisch (Doc. 1101) and John Collins (Doc. 1102), the Debtors’ former CEO and CFO, each of

 which is also incorporated herein by reference in support of this Final Fee Application. As set

 forth in the Agreed Interim Fee Order, the hearing on objections to the First Interim Fee

 Application and on any subsequent fee application filed by GlassRatner was to be combined with

 the hearing to consider final fee applications in these cases.




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        23.      Pursuant to the Interim Compensation Order, the Applicant has previously filed

 seven Monthly Fee Statements during the Fee Period. The Monthly Fee Statements were filed

 from June 12, 2014 through January 31, 2015. During the Fee Period, the Interim Compensation

 Order was vacated [Doc 985], and the Applicant has three unfiled fee statements for the periods

 February 1, 2015 – February 28, 2015, March 1, 2015 – March 31, 2015 and April 1, 2015 –

 April 24th, 2015 (the “Unfiled Period ”):

      Fee
  Statement                                  80% of Total     Total          Amount         Amount
    Period        Doc No.      Total Fee        Fee          Expenses         Paid          Unpaid
   June 12 -
    July 30,
     2014           422       $349,161.40    $279,329.12    $25,487.28     $304,816.40     $69,832.28
  August 1 -
   31, 2014         514       $155,262.50    $124,210.00     $1,124.74     $125,334.74     $31,052.50
   September
  1 - 30, 2014      585       $161,792.30    $129,433.84     $7,802.67     $137,236.51     $32,358.46
   Voluntary
       Fee
   Reduction       1029       ($7,500.00)     ($6,000.00)      $0.00          $0.00        ($7,500.00)
  October 1-
   31, 2014         687       $126,557.50    $101,246.00     $9,553.45     $110,799.45     $25,311.50
  November
  1-30, 2014        784       $159,929.80    $127,943.84     $5,716.24      $66,830.04     $98,816.00
  December
  1-31, 2014        860       $124,147.50     $99,318.00     $6,024.61        $0.00       $130,172.11
  January 1-
   31, 2015         928       $107,435.00     $85,948.00     $3,150.87        $0.00       $110,585.87
  February 1-
   28, 2015         NA        $134,045.00    $107,236.00     $7,648.83        $0.00       $141,693.83
  March 1-31,
    2015            NA        $131,802.50    $105,442.00     $5,529.69        $0.00       $137,332.19
  April 1-24,
    2015            NA        $41,920.00      $33,536.00     $2,624.52        $0.00        $44,544.52

         TOTALS              $1,484,553.50 $1,187,642.80    $74,662.90     $745,017.14    $814,199.26




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        24.     No objections were filed to the Monthly Fee Statements for the periods of June

 12, 2014 through November 30, 2014. The Committee served an informal Objection to the

 Applicant’s Monthly Fee Statement for the period of December 1-31, 2014 on February 23,

 2015, which was withdrawn without prejudice in the Agreed Order. The time for objections to

 the Monthly Fee Statement for the period of January 1-31, 2015 had not expired by the date that

 the Court entered the Order [Doc 985] vacating the Interim Compensation Order.

        25.     In conformity with the Interim Compensation Order and the Compensation

 Procedures set forth therein, 80% of the charged fees and 100% of the reimbursable expenses set

 forth in the Monthly Fee Statements for June 12, 2014 through October 31, 2014 have been paid

 by the Debtors to the Applicant. The Debtors have also paid the Applicant $66,830.04 towards

 its Monthly Fee Statement for November 1-30, 2014. The Debtors have not paid the remaining

 portion of the Monthly Fee Statement for November 1-30, 2014 or any portion of the Monthly

 Fee Statements for December 1-31, 2014 and January 1-31, 2014. The Debtors have not paid any

 fees or expenses related to the Unfiled Period.

 II.    RELIEF REQUESTED

        26.     Pursuant to the applicable provisions of 11 U.S.C. §§ 327 - 331 and Fed. R.

 Bankr. P. 2016, the Applicant seeks final approval and allowance of the Total Request on

 account of services performed and expenses paid by the Applicant as financial advisor to the

 Debtors during the Fee Period.       Of the Total Request, $695,332.76 of compensation and

 $49,684.38 of expenses were paid in accordance with the Interim Compensation Order. The

 total unpaid compensation is $789,220.74 ($158,554.74 of 20% holdback amounts and

 $630,666.00 of unpaid fees) and the total unreimbursed expenses are $24,978.52. Accordingly,




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 the total amount of unpaid compensation and unreimbursed expenses requested totals

 $814,199.26.

        27.     GlassRatner seeks the allowance of a “gap claim” against the Subsidiary Debtors

 for fees and expenses incurred during the time period between June 9, 2014 and June 11, 2014 in

 the amount of $30,077.16 (the “Gap Claim”). GlassRatner asserts that this claim is a priority

 claim pursuant to 11 U.S.C. § 507(a)(3).

        28.     GlassRatner also seeks allowance of the Gap Claim to apply to GlassRatner’s

 retainer of $38,732.33 (the “Retainer”) against such Gap Claim with any remaining Retainer to

 be applied against GlassRatner’s allowed claims during the Fee Period.

        A.      Overview of Case Events

        29.     The early part of most chapter 11 cases is a chaotic period as the Debtor attempts

 to transition from a difficult and crisis oriented operating environment to a more normalized

 environment as a Debtor in Possession. GlassRatner aided the Debtors in this transition and

 brought structure to the process as the result of their formidable experience as restructuring

 advisors. The Debtors, which included ten legal entities, had complex capital structures at each

 of its two divisions. The divisions’ operations were separately managed and reflected different

 mining dynamics, both from a production and sales perspective.

        30.     GlassRatner prepared multiple cash collateral budgets to support the Debtors’ use

 of cash collateral throughout these cases, which had to be supplemented, updated and modified at

 various times. The need for multiple cash collateral budgets was explained in detail in the

 Interim Response (¶¶ 27-33) and in the Declaration of Evan Blum in Support of Debtors’ Motion

 for Final Order (I) Authorizing Postpetition Use of Cash Collateral, (II) Granting Adequate

 Protection to the Licking River Lenders, and (III) Granting Related Relief (Doc. 365), which




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 declaration is incorporated herein by reference. Management used these budgets in its oversight

 function. GlassRatner prepared detailed presentations for the Committee professionals as well as

 counsel for ECM and JAD Sellers, which provided transparency as to the Debtors’ operations at

 both Licking River and JAD. GlassRatner also populated an existing data room with substantial

 financial information for the Committee, ECM and JAD Sellers.

        31.     In the Fall of 2014, GlassRatner supported the Debtors with detailed financial

 analysis and expertise in compiling plan projections. At Licking River, where outside capital was

 likely necessary, potential investors were engaged in detailed term sheet negotiations, the terms

 of which were discussed with ECM’s counsel and investors. GlassRatner worked tirelessly to

 create a structure that would incorporate an exit financing facility as part of a plan of

 reorganization. Despite the diligent and responsible work of GlassRatner, forces beyond the

 control of the professionals in this case, particularly the 22% decline in coal prices from case

 inception through year end 2014, caused multiple global energy trading companies to reject

 investment plans based on decisions made at global headquarters in the beginning of 2015.

        32.     At JAD, a capital raise process was explored which would maximize creditor

 recoveries and transition the division to new ownership, which was an important goal of such

 lenders. Initially, it appeared that relatively little capital would be required to exit through a Plan

 of Reorganization; however, due to unforeseen operational disruptions in the Fall of 2014, short-

 term liquidity and near-term mining profitability did not create a runway to enable a feasible plan

 of reorganization.

        33.     Once the decision to cease operations at JAD and Licking River had been made,

 GlassRatner expeditiously assisted in the Section 363 sale process and focused on maximizing

 value under difficult circumstances. GlassRatner collected appropriate diligence materials,




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 identified and engaged potential buyers, and used its best efforts to obtain the highest and best

 price for the assets. GlassRatner also supported these sales by assisting Debtors’ counsel in

 providing supporting documentation for the Asset Purchase Agreements (the “APA”). These

 transactions maintained mining operations and jobs, resulted in an ongoing customer for local

 businesses and mitigated significant liabilities.

        34.     JAD’s Section 363 auction resulted in the sale of equipment which satisfied

 approximately $8.3MM of secured claims and approximately $0.6MM of ad valorem taxes.

 Approximately $1.5MM of cure claims and $4.4MM of reclamation liability were relieved of the

 estate and assumed by the buyer as a result of the sale of JAD’s mining assets. Additionally,

 GlassRatner identified the magnitude of value that a potential sale of SCANA’s coal sales

 agreement could yield to the Estate, leading the Debtors and SCANA to settle for $2.0MM.

        35.     Licking River’s Section 363 auction resulted in the sale of equipment which

 satisfied approximately $11.0MM of secured claims and approximately $0.85MM of ad valorem

 taxes. Approximately $3.9MM of cure claims and $10.2MM of reclamation liability were

 assumed by the buyer as a result of the sale of Licking Rivers’ mining assets.

        36.     Once the lenders in these cases terminated the use of cash collateral, GlassRatner

 continued to work to strike a last minute deal to minimize the remaining claims of the estates,

 despite GlassRatner’s awareness that the Debtors did not maintain the liquidity to make

 payments to professionals on an on-going basis. Throughout these cases, GlassRatner has

 focused on maximizing the value of the Debtors in an efficient manner with maximum

 transparency to all parties under extraordinary and difficult circumstances.

        37.     GlassRatner’s services were necessary and provided considerable benefit to the

 Debtors or were reasonably likely to benefit the Debtors at the time they were rendered.




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 Although the initial strategy to exit bankruptcy through a plan of reorganization was adjusted, it

 reflected an achievable approach and the best way to maximize value at the time and the work

 performed was absolutely necessary to engage with potential third party financing sources. It was

 in the context of a steep decline in prices and demand for coal, at a time of increasing regulatory

 uncertainty, as well as unforeseen mining condition deterioration that caused the temporary

 shutdown of mining operations. The expeditious commencement of the sale processes in relation

 to the shutdown of operations enabled a significant reduction in secured claims and other

 liabilities.

          B.     Summary of Services Rendered

          38.    A detailed and itemized description of the services rendered and expenses

 incurred by the Applicant for the Fee Period is set forth in Exhibit B. The detail can be further

 described by project category consistent with the U.S. Trustee’s Guidelines for the period June

 12, 2014 – September 30, 2014 in the First Interim Fee Application [Doc 624, Exhibit C].

 Detailed below are the amounts and descriptions of the services rendered, by project category,

 since the First Interim Fee Application which covers the time period from October 1, 2014 –

 April 24, 2015 (the “Post-Interim Period”):

 b1.      Asset Analysis and Recovery
                 Total Hours – 0
                 Total Fees Requested - $0

          39.    This category is intentionally left blank.

 b2.      Asset Disposition
                 Total Hours – 734.4
                 Total Fees Requested - $290,465.00




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        40.     This category includes time expended with regard to the separate sale processes of

 the Debtors’ JAD and Licking River Divisions. The sale processes consisted of six main

 categories as detailed below.

                (a)    Contacting Potential Buyers: As part of the JAD sale process, GlassRatner

 contacted over 60 potential buyers, 38 of whom signed non-disclosure agreements and received

 access to the sale data room. Of these 38 parties, 14 scheduled on-site visits. As part of the

 separate Licking River sale process, GlassRatner contacted over 55 potential buyers, 42 of whom

 signed non-disclosure agreements and received access to the sale data room. Of these 42 parties,

 2 scheduled on-site visits. As part of both sale processes, GlassRatner prepared various

 summaries of the prospective buyer lists and the status of the sales process which were shared

 with the Committee.

                (b)    Providing Requested Information: In connection with providing due

 diligence materials, GlassRatner created a data room to provide information to potential buyers.

 The JAD data room incorporated 5 categories and approximately 495 total pages of documents,

 and the Licking River data room incorporated 6 categories and approximately 410 total pages of

 documents. For both sale processes, GlassRatner also provided additional requested

 documentation that was too large for the data room via thumb drive. GlassRatner prepared

 various ad hoc analyses and provided additional documentation based on the buyers’ request

 lists, including, but not limited to, coal quality specs, historical cost figures, and violation

 summaries, as well as updates to claims analyses. Finally, detailed asset lists, in conformity with

 third party appraisals, were also prepared and provided.




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                (c)     Potential Buyer Engagement: GlassRatner tracked all interested parties

 and continued to engage with each party in an effort to answer questions and provide requested

 documentation.

                (d)     Participate in Auction Process: GlassRatner reviewed appropriate sale

 related court filings and served sale notice to prospective buyers. In preparation for the auctions,

 GlassRatner prepared a reclamation liability schedule (by permit) which was used extensively in

 negotiations with potential purchasers of mining assets. GlassRatner held numerous discussions

 and meetings with potential bidders and participated in the auctions held in Lexington, KY.

 Finally, GlassRatner created spreadsheets to compare bids, which included detailed lien analyses

 related to the various credit bids. These analyses were used by the Debtors, its professionals and

 the Consulting Parties to analyze bids and their impact on the Debtor claims.

                (e)     Assist in Sale Process: GlassRatner spent considerable time reconciling

 the various assets auctioned and retained by the Estates, as well as updating tax and cure claim

 analyses related to the sales. GlassRatner assisted Debtors’ Counsel in the negotiation and review

 of transaction terms and agreements as requested. GlassRatner created the APA schedules in the

 JAD transaction and reviewed and updated such schedules in the Licking River transaction.

                (f)     Disposition of Sale Proceeds: GlassRatner analyzed the remaining work

 that would need to be performed to wind down the Debtors’ operations. This analysis was

 detailed in proposed liquidation budgets. GlassRatner prepared potential sources and uses of

 auction proceeds which were used in negotiations with the interested parties.

 b3.    Assumption/Rejection of Leases and Contracts

                Total Hours – 35.7
                Total Fees Requested - $12,217.50




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        41.     This category includes time expended for the preparation and updating of a lease

 rejection analysis that was performed in conjunction with the Debtors and their counsel.

 GlassRatner prepared lists detailing all of the Debtors’ contracts and leases, which included any

 scheduled claim, estimated gap period claim, estimated cure claim, estimated taxes due under the

 agreement, the key terms of the agreement, and the amount of any payments made under the

 agreement.

        42.     Time in this category was also spent reviewing and advising the Debtors

 regarding contracts with SCANA, Sequoia Energy, LLC, and Kolmar Americas, Inc., as well as

 assessing fuel contracts. GlassRatner’s work in each of these matters was focused on performing

 various profitability analyses and assessing the resultant impact on the Debtors’ cash flows.

 Other time spent in this category includes the analysis of royalty claims for the Debtors to assist

 with their attempts to negotiate cure claims and lower royalties.

 b4.    Avoidance Action Analysis
              Total Hours – 0
              Total Fees Requested - $0

        43.     This category is intentionally left blank.

 b5.    Budgeting (Case)
              Total Hours – 0
              Total Fees Requested - $0

        44.     This category is intentionally left blank.

 b6.    Business Operations
               Total Hours –210.8
               Total Fees Requested - $87,095.00

        45.     This category includes time expended for various ongoing operational issues

 encountered by the Debtors. Approximately 60% of these costs were incurred in the month of

 December due to specific challenges faced by the each of the Debtors at that time. At the JAD



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 Division, liquidity had become strained due to production short falls during the month of

 November. GlassRatner and the Debtors worked to identify steps that could be taken in order to

 mitigate significant variances from plan.      GlassRatner’s work included preparing budget

 revisions and revised internal short-term cash flow forecasts in conjunction with the Debtors’

 management. It became clear that liquidity issues would require an immediate sale, and a process

 was commenced on December 23, 2014 with the filing of proposed bidding procedures and

 related deadlines [Doc 729].

        46.     At the Debtors’ Licking River Division, the focus in December initially revolved

 around a potential reorganization of operations that might result in enhanced cash flow. As 2015

 approached, liquidity forecasting became a particular concern given the amount of production

 exposed to rapidly declining market prices at the Licking River Division which was exacerbated

 by its lack of coal purchase contracts. As a result, GlassRatner engaged in discussions with the

 Debtors’ management in order to update the Debtors’ short-term budget and forecasts. By

 February, it became clear that the Licking River short term budgets were unattainable and that

 revisions were necessary. During that month, the Applicant worked with Licking River

 management to reassess its short term operations on a detailed production basis in order to assess

 its viability given the market conditions. By the end of February it became clear that a shutdown

 of operations was required, which occurred at Licking River on February 20th and 27th. The

 analysis of short term budgets during February at Licking River, and to some extent at JAD,

 accounted for approximately 25% of the total time in this category in this period.

        47.     It should be noted that almost the entire amount of billed time for the preparation

 of the cash collateral budget for the thirteen weeks ended March 27, 2015 is effectively




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 contained in this category. Work analyzing and forecasting short-term operations given the

 above liquidity issues was sufficient for the budget’s underlying assumptions.

 b7.    Case Administration
              Total Hours - 70.5
              Total Fees Requested - $33,192.50

        48.     This category includes time expended for internal meetings regarding the status of

 the Debtors’ bankruptcy cases and work to be performed by GlassRatner. It also includes

 meetings and calls with the Debtors’ management and counsel that covered multiple topics of

 immediate concern.    Also included in this category is preparation for and attendance at major

 hearings such as: JAD Debtors’ bid procedures and authorization of JAD sale (3/17/15), status

 hearing on the sale of JAD and Licking River (3/31/2015), initial Licking River sale hearing and

 continuation of JAD sale hearing (4/8/2015) and the final Licking River sale hearing and

 conversion to chapter 7 hearing (4/20/2015).

 b8.    Claims Administration and Objections
               Total Hours –32.5
               Total Fees Requested - $12,817.50

        49.     This category includes time expended for quantifying and analyzing secured and

 general unsecured claims at both the JAD and Licking River Divisions. This work was used to

 provide a recovery waterfall analysis to the Debtors’ counsel per their request. An updated

 version of these analyses was included in the JAD and Licking River data rooms at the specific

 request of potential buyers. It also includes time for the preparation of an administrative claims

 analysis for both the JAD and Licking River Divisions, which was provided in compliance with

 Court Order.

 b9.    Corporate Governance and Board Matters
              Total Hours – 0
              Total Fees Requested - $0




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        This category is intentionally left blank.

 b10.   Employee Benefits and Pensions
              Total Hours – 0.4
              Total Fees Requested - $210

        50.     This category includes time expended for the review of the key employee

 incentive plan for the Debtors’ Chief Financial Officer, which GlassRatner analyzed with regard

 to its end-of-case claims presentation.

 b11.   Employment and Fee Applications
              Total Hours – 46.5
              Total Fees Requested - $14,645.00

        51.     This category includes time expended for preparation and review of monthly fee

 notices for September, October, November, December, January and February. Time in this

 category also includes preparation and review of the First and Second Interim Fee Applications.

 b12.   Employment and Fee Application Objections
              Total Hours – 0
              Total Fees Requested - $0

        52.     GlassRatner has not billed any time for the significant number of hours it has

 worked relating to the Objections to its First Interim Fee Application.

 b13.   Cash Collateral and Post Petition Financing
              Total Hours –314.1
              Total Fees Requested - $133,972.50

        53.     This category includes time expended related to raising debtor-in-possession

 financing, providing cash collateral budgets, and negotiating potential exit financing. With

 regard to the Debtors’ DIP financing efforts, GlassRatner prepared analytical materials, financial

 projections, and financing memoranda and made introductions to potential lenders. The Debtors’

 management, in particular the Chief Financial Officer, used this information in its discussions

 and negotiations with potential lenders and was responsible for negotiating the terms of DIP




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 financing proposals himself. DIP financing-related work accounted for a minimal percentage of

 time expended in this category.

        54.     Given the seven-month period of time covered by this Fee Application, three

 separate cash collateral budgets were required to be prepared. Cash collateral budgets were

 prepared for the period ending October 31, 2014, for the period ending January 31, 2015 and for

 the period ending March 27, 2015. GlassRatner’s work on cash collateral budgets involved

 forecasting key assumptions at the direction of the Debtors’ management, which encompassed

 mining forecasts at each production site, shipping forecasts, staffing forecasts, and operations

 forecasts. Time in this category also included preparation of two wind-down budgets for the

 thirteen weeks ended March 27, 2015 and for the four weeks ended April 24, 2014 which were

 required once cash collateral was terminated on March 1, 2015. Cash collateral and wind-down

 budget related work accounted for a significant amount of the time expended in this category.

 The work performed related to cash collateral budgets for the period ended March 27, 2015 is

 included in the Business Operations category.

        55.     Time in this category also included negotiations with potential sources of exit

 financing. It should be noted that the modeling work related to such efforts is included in the

 Plan and Disclosure Statement (incl. Business Plan) category. During this period of time, there

 were intensive discussions with multiple parties interested in providing exit financing in

 conjunction with a Plan of Reorganization at both the Debtors’ Licking River and JAD

 Divisions. GlassRatner spent a significant amount of time responding to detailed diligence

 requests and negotiating terms and conditions of potential financing.

 b14.   Litigation
                Total Hours – 0
                Total Fees Requested - $0




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        56.     This category is intentionally left blank.

 b15.   Meetings of and Communications with Creditors

                Total Hours – 74.42
                Total Fees Requested - $33,322.50

        57.     This category includes time expended for responding to the Committee’s

 questions and preparing documents requested by the Committee. This included preparing a long-

 term financial projection presentation as requested by the Committee, on-site mine tours with the

 Committee, and multiple meetings with the Committee to discuss the financial performance of

 the Debtors, especially as liquidity and operational issues became exacerbated in December.

        58.     Time in this category also includes calls with the Licking River secured lenders as

 it related to potential exit financing transactions at the Licking River Division. In regards to the

 sale process, GlassRatner reviewed JAD and Licking River bids received with the Committee as

 well as with the Consulting Parties. GlassRatner also reviewed the wind down and liquidation

 budgets, as well as potential global claims resolutions, with the Committee’s financial advisor as

 well as with ECM and JAD Sellers’ counsel. As such, time in this category includes providing

 responses to Committee and ECM counsel regarding Section 503(b)(9) and gap period claims.

 b16.   Non-Working Travel

                Total Hours – 0
                Total Fees Requested - $0

        59.     Intentionally omitted. As a courtesy to the Estates, GlassRatner is not billing for

 any non-working travel time.


 b17.   Plan and Disclosure Statement (incl. Business Plan)
               Total Hours – 372.8
               Total Fees Requested - $137,724.80




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        60.     This category includes time expended for working with the Debtors to build long

 term projections for internal plan strategy, which was also used to assist the Debtors with efforts

 to raise capital from third parties. The time billed in this category includes extending the

 Debtors’ current three-year forecast by an additional six years so that potential investors could

 understand and evaluate a potential transaction. This was performed at the specific request of a

 potential investor. The forecast incorporated a new long-term mining plan, a determination of

 appropriate level of mine staffing, the potential configuration of equipment, forecasts of

 operational costs that corresponded to each equipment spread, the required amount of bonding,

 and other key projection inputs. These long term projections were then summarized in

 presentations that were shared with multiple interested parties.

        61.     Time in this category also incorporated significant diligence work performed for

 potential investors for each of the divisions.       Interested parties required certain additional

 analyses and information, which GlassRatner provided. As transaction discussions progressed,

 further work was required to analyze and project various restructuring scenarios and how an

 investment would impact the capital structure and potential for a Plan of Reorganization. Much

 of the work relating to the extension of the three-year forecast and the preparation of additional

 analyses requested by potential investors was accomplished during November and accounts for a

 substantial amount of time spent in this category.

        62.     Time in this category also includes updating the Debtors’ financial projections

 with actual results. Periodic updates to the forecasts based on the most recent mining conditions

 were also required. For instance, coal prices declined substantially during this time period. At

 the Licking River Division, significant reforecasts were requested as a result of such price

 declines; the coal spot market declined from $53 to $47 during the month of November, which




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 materially impacted the financial attractiveness of an investment and also created an inability to

 sell coal on a long term contractual basis past December. The reforecasts due to changes in

 mining conditions were required by potential investors in their internal approval process. At the

 JAD Division, projection updates due to mining conditions indicated that the operational

 dislocations would significantly impact the 2015-2016 time period and needed to be addressed

 immediately. At that time, in mid-December, the Debtors and its professionals, working with

 Committee professionals, determined that a Court supervised sale process was necessary and that

 a Plan of Reorganization was not feasible.

        63.     During the beginning of 2015, once potential financing parties at the Licking

 River Division indicated that the decline in the coal pricing environment would most likely

 prevent a transaction from being consummated, GlassRatner consulted with the Debtors’

 Counsel and the Committee. Pursuant to the Committee’s request, further financial modeling

 and claims analysis was performed to evaluate whether a feasible Plan of Reorganization would

 be possible without a third-party investment.

 b18.   Real Estate
               Total Hours – 0
               Total Fees Requested - $0

        64.     This category is intentionally left blank.

 b19.   Relief from Stay/Adequate Protection Proceedings
                Total Hours – 5.3
                Total Fees Requested - $2,452.50

        65.     This category includes time expended for the review of adequate protection

 agreements and payments for parties such as Caterpillar Financial Services Corporation, The

 Huntington National Bank, Komatsu Financial, L.P., and Pryor Cashman LLP in order to assist

 the Debtors in budgeting appropriately.




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 b20.      Financial Reporting
                  Total Hours – 52.1
                  Total Fees Requested - $16,092.50

           66.    This category includes time expended for the preparation and review of the

 Summary of Financial Affairs (the “SOFAs”), Schedules of Assets and Liabilities (the

 “SOALs”) and the Global Notes to be filed with the Court by each of the four Additional

 Debtors. This category also includes time for review and follow up discussions of the weekly

 variance reports prepared by the Debtors.

 b21.      Tax Issues
                  Total Hours – 6.9
                  Total Fees Requested - $2,152.50

           67.    This category includes time expended for discussions related to the Debtors’ net

 operating loss carry forward. It also includes time spent reviewing personal property taxes and

 severance taxes at both the JAD and Licking River Divisions in order to assess potential tax

 claims.

 b22.      Valuation
                  Total Hours – 160.3
                  Total Fees Requested - $48,067.50

           68.    This category includes time expended for the review of multiple appraisals and

 the preparation of a going concern and liquidation analysis and summary.           A third-party

 appraisal that valued the Debtors as a going concern was finalized in November. It also valued

 specific assets that were not included in the Debtors’ prior heavy machinery and equipment

 appraisal, such as the fee property and the prep plant. Due to the complexity of the going

 concern appraisal and the changing mining assumptions provided by the Debtors, multiple draft

 iterations were prepared by the third-party appraiser, and extensive review was required by

 GlassRatner to verify key assumptions made in the appraisal.




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        69.     Time in this category also included GlassRatner’s preparation of detailed

 liquidation analyses incorporating both the heavy machinery and equipment appraisal and the

 going concern appraisal, which analyses were provided to Debtors’ counsel. These analyses

 provided the underlying data which was incorporated in the bid analysis used by the Debtors,

 their professionals and the Consulting Parties in the 363 sale at the JAD and Licking River

 Divisions.

 b23.   Financial Analysis/Capital Structure
               Total Hours – 4.8
               Total Fees Requested - $1,410

        70.     This category includes time expended for the analysis of secured debt at both the

 Debtors’ Licking River and JAD Divisions and the preparation of a summary of such

 information that was provided to Debtors’ counsel.

        Summary

        71.     The total time expended by the Applicant on behalf of the Debtors during the Fee

 Period was 3,912.2 hours, of which 1,781.7 represent the time from the First Interim Fee

 Application, and 2,130.5 represent the Post-Interim Period. The time is itemized on Exhibit B.

        72.     In conclusion, the Applicant believes and represents that the compensation sought

 is reasonable based on the nature, extent, and value of such services, the time expended on such

 services, the cost of the comparable services rendered in cases other than bankruptcy cases, and

 the other factors adopted by the Sixth Circuit in the lodestar analysis of fee applications.

 C.     Necessary Expenses Incurred

        73.     Under 11 U.S.C. § 330(a)(1)(B), the Court may reimburse the Applicant for the

 “actual, necessary expenses” incurred in these cases. In the course of its representation of the

 Debtors during the Fee Period, the Applicant incurred actual expenses in the total amount of




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 $40,248.21. A detailed list of those expenses is included in Exhibit B. By the Fee Application,

 the Applicant also seeks allowance and reimbursement for those actual, reasonable and necessary

 expenses incurred by the Applicant in representing the Debtor.

        74.     The Applicant normally seeks and receives reimbursement of costs incurred for

 travel, hotels, meals, transportation, postage, teleconference services, and online research from

 its clients, and reimbursement of such costs is sought hereby. The Applicant believes that all of

 the expenses requested are reasonable, necessary and appropriately reimbursable in these cases.

 The Applicant requests that this Court approve the reimbursement sought.

                                       III. CONCLUSION

        75.     The Applicant respectfully submits that its Fee Application for final compensation

 in the total amount of $1,559,216.40 (including fees and expenses) constitutes a fair and

 reasonable request for the quality and nature of the services performed.

        WHEREFORE, for all the foregoing reasons, pursuant to 11 U.S.C. §§ 328, 330 and 331,

 the Applicant prays that this Court enter an Order:

        (a)     approving the Applicant’s request pursuant to this Fee Application for final

                allowance of fees in the amount of $1,484,553.50 (of which $789,220.74 is

                unpaid) and expenses in the amount of $74,662.90 (of which $24,978.52 is

                unpaid) for the Fee Period, for a total allowed compensation of $1,559,216.40;

        (b)     authorizing the Debtors to pay the Applicant the Outstanding Balance of all

                approved fees and expenses for the Fee Period as an allowed administrative

                expense of the Estates; and

        (c)     Allowing the Gap Claim of GlassRatner in the amount of $30,077.16 as an

                allowed priority claim pursuant to 11 U.S.C. § 507(a)(3);




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       (d)   Permitting GlassRatner to apply the Retainer first against the Gap Claim until

             such claim is satisfied in full, and any remaining Retainer against GlassRatner’s

             allowed fees and expenses during the Application Period; and


       (e)   granting such other and further relief as this Court may deem appropriate.




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                               CERTIFICATE OF APPLICANT

        I hereby certify that I have reviewed the foregoing Fee Application and the Exhibits

 attached hereto and that they are true and correct to the best of my knowledge and belief.

                                      GlassRatner Advisory & Capital Services, LLC, Applicant

                                      By:             /s/ Evan Blum

                                      Title: Principal

                                      Dated: May 15, 2015




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                                            Respectfully submitted,

                                            _/s/ Elliot M. Smith__________________
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                                            Counsel for GlassRatner Advisory & Capital
                                            Group, LLC


                                CERTIFICATE OF SERVICE

        This document has been electronically filed and served via the Court’s ECF System on May

 15, 2015.


                                            /s/ Elliot M. Smith




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